          Case 2:20-cv-00993-GMN-NJK Document 21 Filed 10/21/20 Page 1 of 1




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                               UNITED STATES DISTRICT COURT
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                                      DISTRICT OF NEVADA
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 7   GLENNA M. DUCA,
                                                         Case No.: 2:20-cv-00993-GMN-NJK
 8          Plaintiff(s),
                                                                        ORDER
 9   v.
                                                                    [Docket No. 20]
10   FLAGSTAR BANK, FSB,
11          Defendant(s).
12         Pending before the Court is Plaintiff’s notice of settlement and deadlines. Docket No. 20.
13         The Court previously issued an order directing Defendant to file an answer to Plaintiff’s
14 complaint no later than October 20, 2020. Docket No. 19. In light of the parties’ settlement, the
15 Court VACATES that deadline. Further, the Court ORDERS the parties to file a stipulation of
16 dismissal, no later than December 21, 2020.
17         IT IS SO ORDERED.
18         Dated: October 21, 2020
19                                                             ______________________________
                                                               Nancy J. Koppe
20                                                             United States Magistrate Judge
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